 Case
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 1   THOMAS F. PITARO, ESQ.
 2   Nevada Bar No. 001332
     1212 S. Casino Center Blvd.
 3   Las Vegas, Nevada 89104
     (702) 382-9221
 4   Attorney for Defendant
 5   NICHOLAS GHAFOURIA

 6                             UNITED STATES DISTRICT COURT
 7
                                     DISTRICT OF NEVADA
 8
 9    UNITED STATES OF AMERICA,
10             Plaintiff,
11                                                 Case No. CR-10-00547-RLH-GWF
      vs.
12
13    NICHOLAS GHAFOURIA,

14             Defendant.
15
16                      MOTION FOR REMOVAL FROM THE CM/ECF SYSTEM
                          SERVICE LIST AND ORDER GRANTING MOTION
17
18          COMES NOW, THOMAS F. PITARO, ESQ., attorney for NICHOLAS GHAFOURI,

19   and files this Motion for Removal from the CM/ECF System List (the “Motion”) in the above-
20
     entitled matter.
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28   ////
 Case
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 1         The basis of this Motion is that counsel for defendant has completed the representation of
 2
     NICHOLAS GHAFOURA’s case and defendant has appointed new counsel.
 3
           DATED this 12th day of March, 2013.
 4
 5
 6                                                                  /S/ Thomas F. Pitaro
 7                                                             THOMAS F. PITARO, ESQ.
                                                               Nevada Bar No. 001332
 8                                                             1212 S. Casino Center Blvd.
                                                               Las Vegas, Nevada 89104
 9
                                                               Attorney for Defendant
10                                                             NICHOLAS GHAFOURIA
11                                             ORDER
12
           IT IS SO ORDERED.
13
                        14th
           DATED this ____________          March
                                   day of ____________, 2013.
                                                        201__.
14
15
                                                        __________________________________
16                                                      UNITED STATES DISTRICT JUDGE
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